Case 1:17-cv-07919-NLH-KMW Document 61 Filed 05/16/19 Page 1 of 7 PageID: 780



                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY




    SILVERTOP ASSOCIATES, INC.            Civil No. 17-7919 (NLH/KMW)
    d/b/a RASTA IMPOSTA,
                                          ORDER
                   Plaintiff,

          v.

    KANGAROO MANUFACTURING, INC.,

                   Defendant.


APPEARANCES:

ALEXIS KATHRYN ARENA
ERIC ROBERT CLENDENING
FLASTER/GREENBERG PC
1810 CHAPEL AVENUE WEST
CHERRY HILL, NJ 08002

     On behalf of Plaintiff Silvertop Associates, Inc. d/b/a
Rasta Imposta.

DAVID ALAN SCHRADER
PAYKIN KRIEG & ADAMS LLP
750 THIRD AVENUE, 9TH FLOOR
OFFICE 965
NEW YORK, NY 10017

      On behalf of Defendant Kangaroo Manufacturing, Inc.

HILLMAN, District Judge

      WHEREAS on April 23 and 24, 2019 the parties filed letters

with the Court concerning an alleged violation of this Court’s

May 29, 2019 Opinion and Order (the “Preliminary Injunction

Order”); and

      WHEREAS on April 24, 2019, this Court directed Plaintiff
Case 1:17-cv-07919-NLH-KMW Document 61 Filed 05/16/19 Page 2 of 7 PageID: 781



Silvertop Associates, Inc., doing business as Rasta Imposta’s

(“Rasta Imposta”) to file an appropriate motion if it wished to

pursue relief for these alleged violations; and

      WHEREAS presently before this Court is Plaintiff Rasta

Imposta’s April 29, 2019 Emergency Motion for Sanctions and to

Hold Defendant in Civil Contempt for Violating the Preliminary

Injunction Order (the “Motion”); and

      WHEREAS Plaintiff argues in the Motion that Defendant

Kangaroo Manufacturing, Inc. (“Kangaroo”) has violated this

Court’s May 29, 2019 Opinion and Order (the “Preliminary

Injunction Order”) granting Plaintiff’s Motion for a Preliminary

Injunction, should be held in civil contempt, and sanctions

should be imposed for this contempt; and

      WHEREAS the parties agree that Defendant, or an entity

controlled by Defendant or Defendant’s principals, has been

selling a banana costume with sewn-in sunglasses (the

“Sunglasses Banana Costume” or “Item No. 10596”) through an

online retailer; and

      WHEREAS Plaintiff argues that the Sunglasses Banana Costume

infringes upon Plaintiff’s copyrighted banana costume (the

“Banana Costume”) because it is a “derivative work,”

incorporating the original work, the Banana Costume, and merely

adding sewin-in sunglasses; and

      WHEREAS Plaintiff argues this Court previously prohibited

                                     2
Case 1:17-cv-07919-NLH-KMW Document 61 Filed 05/16/19 Page 3 of 7 PageID: 782



Defendant from “‘manufacturing, ordering, offering for sale,

advertising, marketing, promoting, selling, and distributing

Plaintiff’s Banana [Costume] (an any substantially similar

banana costume),’” (ECF No. 36 at 6); and

      WHEREAS Defendant argues the addition of sunglasses to

Defendant’s costumes that this Court found infringed upon

Plaintiff’s Banana Costume, Items No. 10477 and 10478, does not

infringe upon Plaintiff’s copyright and therefore there is no

violation of any Court Order; and

      WHEREAS Defendant filed a Notice of Interlocutory Appeal on

June 7, 2018; and

      WHEREAS oral argument was held before the Third Circuit

Court of Appeals on April 3, 2019; and

      WHEREAS on May 13, 2019 the Third Circuit remanded this

matter to this Court “for the limited purpose of entering an

amended order in compliance with Fed. R. Civ. P. 65(d)” and

stayed the current appeal pending entry of the amended order;

and

      WHEREAS this Court heard argument on the Motion on May 15,

2019 and received into evidence Plaintiff’s Exhibit P-A, a

Sunglasses Banana Costume; and

      WHEREAS this Court, in compliance with Federal Rule of

Procedure 65(d) and in compliance with the directive of the

Third Circuit, entered an Amended Preliminary Injunction Order

                                     3
Case 1:17-cv-07919-NLH-KMW Document 61 Filed 05/16/19 Page 4 of 7 PageID: 783



on this date; and

      WHEREAS the Court finds it has jurisdiction over this

action because it retains jurisdiction over the clarification,

modification, and enforcement of its Orders, New Jersey Sports

Prods. v. Don King Prods., 15 F. Supp. 2d 546, 550-51 (D.N.J.

1998) (holding a district court may clarify, modify, or enforce

an injunction that is under appellate review); and

      WHEREAS Plaintiff must prove by clear and convincing

evidence the following three elements for the Court to find

Defendant in civil contempt: “(1) a valid court order existed,

(2) the defendant had knowledge of the order, and (3) the

defendant disobeyed the order,”        John T. v. Del. Cty.

Intermediate Unit, 318 F.3d 545, 552 (3d Cir. 2003) (citing

Harris v. City of Philadelphia, 47 F.3d 1311, 1326 (3d Cir.

1995); Robin Woods, Inc. v. Woods, 28 F.3d 396, 399 (3d Cir.

1994)); and

      WHEREAS any “ambiguities must be resolved in favor of the

party charged with contempt.”       Id. (citing Robin Woods, Inc., 28

F.3d at 399; Harris, 47 F.3d at 1326); and

      WHEREAS this Court finds because the Preliminary Injunction

Order did not meet the requirements of Federal Rule of Civil

Procedure 65(d) for a preliminary injunction order a substantial

question arose as to the full scope of the previously ordered

injunction; and

                                     4
Case 1:17-cv-07919-NLH-KMW Document 61 Filed 05/16/19 Page 5 of 7 PageID: 784



      WHEREAS, in light of this ambiguity in the Preliminary

Injunction Order, the Court declines, in its discretion, to hold

Defendant in civil contempt; but

      WHEREAS the Amended Preliminary Injunction Order was

entered today; and

      WHEREAS this Court finds Defendant, or one of its

affiliates, has sold the Sunglasses Banana Costume and, at the

very least, continues to display on its website the Sunglasses

Banana Costume, which is a “derivative work” of Plaintiff’s

copyrighted Banana Costume, see 17 U.S.C. § 101 (defining the

term “derivative work”), Brownstein v. Lindsay, 742 F.3d 55, 68

(3d Cir. 2014) (“[U]nauthorized creation of a derivative work,

which incorporates the original work, constitutes an

infringement of the underlying work.”); and

      WHEREAS the Court finds future manufacture, sale,

distribution, offering for sale, advertising, marketing, and/or

promoting of the Sunglasses Banana Costume by Defendant or its

affiliates would be a violation of this Court’s Amended

Preliminary Injunction and that no additional injunctions are

necessary;

      THEREFORE,

      IT IS on this       15th     day of             May         , 2019,

      ORDERED that Plaintiff’s Emergency Motion for Sanctions and

to Hold Defendant in Civil Contempt for Violating the

                                     5
Case 1:17-cv-07919-NLH-KMW Document 61 Filed 05/16/19 Page 6 of 7 PageID: 785



Preliminary Injunction Order [50] is hereby DENIED; and it is

further

       ORDERED that, in light of the application made by Plaintiff

and to eliminate any ambiguity and provide clarity, the Court

hereby GRANTS the following relief:

   •   Defendant, and those bound by this Court’s Amended

       Preliminary Injunction Order, are hereby ORDERED to

       IMMEDIATELY remove any public display of any kind within

       their care, custody, or control that is accessible within

       the United States and displays Item No. 10477, Item No.

       10478, or Item No. 10596, the Sunglasses Banana Costume;

       and

   •   The Court hereby ORDERS its June 8, 2018 text order [41]

       staying this action and any discovery is hereby SUSPENDED

       solely for purposes of providing the relief ordered within

       this Order; and

   •   Defendant, and those bound by this Court’s Amended

       Preliminary Injunction Order, are hereby ORDERED to submit

       to this Court and Plaintiff a certification and an

       accounting – including a copy of the report created by

       Amazon, Inc. of sales on its website - of all sales

       (including gross revenues and profits) of the Sunglasses

       Banana Costume by Defendant and those bound by this Court’s

       Amended Preliminary Injunction Order within ten (10) days

                                     6
Case 1:17-cv-07919-NLH-KMW Document 61 Filed 05/16/19 Page 7 of 7 PageID: 786



       of this Order; and

   •   Defendant, and those bound by this Court’s Amended

       Preliminary Injunction Order, are hereby ORDERED to submit

       to this Court and Plaintiff a certification and an

       accounting of the amount of Sunglasses Banana Costumes

       within their care, custody, or control and where those

       Sunglasses Banana Costumes are located within ten (10) days

       of this Order; and

   •   Plaintiff may submit a certification to the Court of all

       attorney’s fees and expenses incurred in bringing this

       motion within ten (10) days of this Order for the Court to

       take under advisement and decide in due course.



                                          s/ Noel L. Hillman
At Camden, New Jersey                    NOEL L. HILLMAN, U.S.D.J.




                                     7
